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                  EXHIBIT 1
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September 9, 2020                                                           Courthouse Place
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VIA EMAIL                                                                   BartlitBeck.com


       Re: MDL 2804 – Privilege Challenges

Dear Special Master Cohen,

        Walgreens writes to seek reconsideration of Part II.B of Discovery Ruling 23 (ECF
3455), regarding Plaintiffs’ waiver of their Track One A privilege challenges. That ruling issued
before Walgreens had an opportunity to reply to arguments Plaintiffs raised for the first time in
their August 26 submission, and thus without the benefit of case law clearly rebutting those
arguments.

        Walgreens also seeks confirmation that, pursuant to Part II.A of Discovery Ruling 23, all
privilege challenges subject to the parties’ May 2020 agreement have been resolved by that
agreement, not just those in the eight documents exemplified in Plaintiffs’ submission. As
explained on in Section III below, more than eight documents were subject to that agreement.

I.     Plaintiffs’ waiver argument is contrary to binding case law

        Plaintiffs argued for the first time in August 2020, 18 months after the close of fact
discovery in Track One A, that they can continue to bring privilege challenges to Track One A
privilege logs forever, without limitation. This is contrary to case law governing this MDL—as
well as other case law in the MDL context—and must be rejected.

         Plaintiffs’ submission ignores the Sixth Circuit’s mandamus order, attempting to limit it
artificially to its facts while missing the unmistakable rule the Sixth Circuit laid down for this
case and all MDLs: “The rule of law applies in multidistrict litigation under 28 U.S.C. § 1407
just as it does in any individual case. . . . That means an MDL court’s determination of the
parties’ rights in an individual case must be based on the same legal rules that apply in
other cases, as applied to the record in that case alone. . . . The rules at issue here are the
Federal Rules of Civil Procedure, which have the same force of law that any statute does.” In re
Nat’l Prescription Opiate Litig., 956 F.3d 838, 841 (6th Cir. 2020) (emphasis added). This is
also why Plaintiffs’ primary argument for distinguishing the extensive authority Walgreens
cited—i.e., that those cases did not involve an MDL—is beside the point. There is no special
“MDL precedent” that alters the timeliness requirements of Rule 16 in MDLs. Id. at 844 (“[T]he
requirements of the Civil Rules in an MDL case . . . ‘are the same as those for ordinary litigation
on any ordinary docket.’” (quoting In re Korean Air Lines Co., 642 F.3d 685, 700 (9th Cir.


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2011)); see also In re Sulfuric Acid Antitrust Litig., 231 F.R.D. 331, 332 (N.D. Ill. 2005) (MDL
court citing exclusively non-MDL cases in determining the timeliness of a motion to compel
filed the day discovery closed).1

        It is not surprising, then, that MDL courts, just like other federal courts, routinely deny
untimely privilege challenges in circumstances exactly like those presented here. For example,
in In re Seroquel Products Liability Litigation, plaintiffs brought a motion to compel de-
designation of documents on a privilege log served ten months before, arguing that documents
were being improperly withheld as privileged “most likely in violation of this Court’s and others’
privilege rulings.” No. 6:06-md-1769, 2009 WL 3739347, at *1 (M.D. Fla. Nov. 6, 2009)
(internal quotation marks omitted). The defendant filed a motion to strike for untimeliness,
arguing that plaintiffs had raised the privilege challenge “nearly a year late without even
attempting to show reasonable cause for the delay.” Id. at *4 (internal quotation marks omitted).
The MDL court agreed, denying the motion to compel as untimely. Id. at *6. And the court did
so despite the fact that discovery had not yet closed and even though earlier privilege challenges
had been sustained in part. Id. at *1-2.

        Indeed, Plaintiffs’ own authority proves the point. After claiming (without citation or
explanation) that non-MDL cases are not relevant authority, Plaintiffs themselves rely on the
non-MDL case of Durand v. Hanover Ins. Group, Inc., 294 F. Supp. 3d 659 (W.D. Ky. Feb 16,
2018), as “more analogous to the matter at hand.” 8/26/20 Robertson Letter at 4. But the court
in Durand still applied the “good cause” standard under Rule 16 to untimely privilege
challenges, noting that a court “must first find that the moving party proceeded diligently,” and
that “the movant who fails to show ‘good cause’ will not be accorded relief . . . merely because
the opposing party will not suffer substantial prejudice.” Durand, 294 F. Supp. 3d at 671 (citing
Smith v. Holston Med. Grp., P.C., 595 F. App’x 474, 479 (6th Cir. 2014) and Interstate
Packaging Co. v. Century Indemnity Co., 291 F.R. 139, 145 (M.D. Tenn. 2013)). The Durand
court permitted the privilege challenges in that case to proceed only after expressly finding that




1
  Plaintiffs cite Seifu v. Postmaster Gen., U.S. Postal Serv., No. 1:19-cv-572, 2020 WL 2085197 (S.D. Ohio Apr. 30,
2020) as “showing the scope of the Sixth Circuit’s mandamus order narrowly applied to amendment of pleadings.”
But Seifu shows nothing of the kind. The court merely described as “dictum” the Sixth Circuit’s discussion of Rule
12(b) motions. The Sixth Circuit’s “observation[]” that “the district court may not refuse to adjudicate motions
properly filed under [Civil Rule 12(b)]” was dictum only because the Sixth Circuit had already directed the Court to
strike the Amendments by Interlineation to which the Pharmacy Defendants’ motions to dismiss were directed. In
re Nat’l Prescription Opiate Litig., 956 F.3d at 846. That fact in no ways narrows the application of the Sixth
Circuit’s central holding that “the requirements of the Civil Rules in an MDL case . . . ‘are the same as those for
ordinary litigation on any ordinary docket,’” id. at 844 and that it was error for the district court “to think it had
authority to disregard the Rules’ requirements in the Pharmacies’ cases in favor of enhancing the efficiency of the
MDL as a whole,” id.

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plaintiffs were “[u]nquestionably . . . diligent” and that “good cause exist[ed]” under Rule 16.
Id. at 672.

         Plaintiffs’ other attempts to distinguish Walgreens’ cases are similarly unavailing. They
argue that none of them involve “the proponent of a privilege failing to apply bellwether
privilege rulings.” 8/26/20 Robertson Letter at 4. But as explained below, Plaintiffs cannot
show any failure by Walgreens to “apply bellwether privileged rulings.” Nor do immaterial
factual distinctions bear on the settled legal principle for which those cases stand: that an
untimely motion to compel the production of documents withheld as privileged, brought after the
close of discovery, requires a showing of good cause. See, e.g., United States v. Barron Collier
Co., 2015 WL 13811188, at *4 (D. Ariz. Dec. 24, 2015) (collecting cases on the content and
application of the “good cause” standard for reopening discovery based on disputed privilege
claims); Burgos-Martinez v. City of Worcester, 345 F. Supp. 3d 105, 106 (D. Mass. 2018)
(collecting cases denying motions to compel as untimely); FedEx Corp. v. United States, No. 08-
2423 MA/P, 2011 WL 2023297, at *4 (W.D. Tenn. Mar. 28, 2011) (collecting cases from
“[n]umerous courts” finding that “absent special circumstances motions to compel discovery
filed after the close of discovery are untimely”).

II.       Plaintiffs cannot show good cause

        Plaintiffs cannot show good cause for their belated privilege challenges. All of
Walgreens’ Track One A privilege logs have been in Plaintiffs possession for more than a year.
See Ex. 1.2 And Plaintiffs have been on notice of the basis of their purported privilege
challenges (including the previously-rejected “sword/shield” argument3 and the factually
inapposite argument that “suspicious Ordering processes or policies are not privileged and
should not be withheld”4) since 2018, when this Court first established that SOMs-related
privilege claims should be narrowly construed. Plaintiffs point to nothing in any subsequent
“bellwether” ruling that changes these principles sufficient to permit endless challenges to Track
One A privilege logs.

        It is undisputed that the parties resolved all of their privilege disputes that were
outstanding as of May 2020. ECF 3455 at 3. Plaintiffs point to no privilege rulings after May
2020—nor anything else—that would enable them to continue to challenge Walgreens’ privilege
logs after the conclusion of the parties’ agreement. Plaintiffs also point to no privilege


2
  Walgreens does not dispute that Plaintiffs may bring certain challenges to CT1B or CT3 privilege logs, including
those captured by Plaintiffs’ June 2020 challenges.
3
    ECF 1666 at 3.
4
  Walgreens has produced hundreds of such policies, across various iterations, going back to at least 2006, as
identified specifically for Plaintiffs in our discovery responses.

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downgrades from Walgreens—either before or after that date—that provide information they did
not previously have. Instead, as Walgreens has explained in previous submissions, the substance
of the documents Walgreens downgraded in reliance on the May 2020 agreement was already
included in other, non-privileged documents produced in Track One A, including documents that
were marked by Plaintiffs in depositions. Plaintiffs do not dispute this.5 In other words, there is
no category of documents among Plaintiffs’ privilege challenges that Plaintiffs do not already
have access to—whether downgraded in response to prior privilege rulings or otherwise.6

        As Walgreens has also explained, we make all of our privilege decisions cognizant of the
dictates of the bellwether privilege rulings in the MDL. And every time we downgrade
documents in response to a privilege ruling or agreement with Plaintiffs, we review and
downgrade similar documents alongside them. 7/29/20 Desh letter to Cohen. Plaintiffs have
shown nothing to the contrary that even remotely establishes good cause. To the contrary, when
Plaintiffs previously submitted Walgreens’ privilege claims to Special Master Cohen for in
camera review, the Court upheld the vast majority of those claims as privileged. ECF 1387;
1395.

       Plaintiffs cannot use Track One A privilege rulings to bootstrap their untimely privilege
challenges indefinitely. Instead, as you have recognized, in this MDL as in any other case
“deadlines must be respected.” ECF 3305 at 6.

III.     The parties’ agreement encompassed more than 8 outstanding privilege claims

        Plaintiffs also aver that only in June 2020 did they finally come to appreciate the
importance of challenging certain documents. But the record shows the opposite: in addition to
the eight documents Plaintiffs acknowledge were part of their earlier challenges, multiple
additional documents in Plaintiffs’ June 2020 challenges were part of their earlier

5
 See 7/29/20 Desh letter to Cohen (citing WAGMDL00045766; WAGMDL00047448; WAGMDL00132147;
WAGMDL00303186; WAGMDL00312091; WAGMDL00358578; WAGMDL00407724; WAGMDL00580319;
WAGMDL00060739; WAGMDL00675680, WAGMDL00675689, WAGMDL00704545; WAGMDL00709220);
see also WAGMDL00670686; WAGMDL00670695; WAGMDL00751804; WAGMDL00752211;
WAGMDL00752212; WAGMDL00752215; WAGMDL00752216; WAGMDL00752218; WAGMDL00752219;
WAGMDL00752227 (non-privileged documents available to Plaintiffs covering additional topics mentioned in their
8/26/20 submission).
6
  Walgreens also observes that its total privilege percentage is very similar to other pharmacy Defendants, including
both Walmart and CVS. Unlike other Pharmacy Defendants, however, Walgreens did not apply a date cut-off to its
production and continued to log documents post-dating the Complaint. If those documents are removed from the
calculation, as they would be in a standard case, Walgreens’ total privilege percentage is closer to 7%. Given the
size of Walgreens’ production, it is undisputed that Plaintiffs are in possession of several times the number of non-
privileged documents from Walgreens than any other Pharmacy Defendant. Walgreens further observes that
Plaintiffs have indirectly conceded that they did not conduct a full privilege review, so their privilege percentage is
not an adequate comparison to that of Defendants. 8/17/20 Telecon.

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challenges and therefore explicitly resolved by the parties’ May 2020 agreement. For
example, documents WAGMDL00757193 and WAGMDL00757222 (starting at page
WAGMDL00757225) were listed as Exhibits E and F to Agenda Item 232, which was resolved
by the parties’ agreement. See Ex. 2 (excerpts from May 19, 2020 agenda reflecting the first
page of documents 232E and 232F); see also ECF 3455 at 3; 5/29/20 Desh email to Cohen
(“[T]he parties have resolved agenda items 252, 232, and 253 regarding outstanding privilege
challenges.”). Plaintiffs gloss over this fact and attempt to re-issue challenges to these same
documents (in addition to other documents that are duplicates or substantially similar)7 under
their purported “list of 53” new challenges. Walgreens seeks confirmation that, per your order,
all privilege claims subject to the parties’ agreement have been resolved.

                                                 Thank you,



                                                 Sharon Desh




7See also WAGMDL00752433 (duplicate of Exhibit F to Agenda Item 232); WAGMDL00771951;
WAGMDL00773030 (containing pages that are substantive duplicates of the above).

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